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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:08CR122
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
              vs.                             )                 AND ORDER
                                              )
SILVIA VENZOR-ESTRADA,                        )
                                              )
              Defendant.                      )

       This matter is before the Court on the Report and Recommendation (Filing No. 69)

issued by Magistrate Judge F.A. Gossett recommending denial of the motion to suppress

filed by the Defendant, Silvia Venzor-Estrada (Filing No. 58). The Defendant filed a

statement of objections to the Report and Recommendation and a supporting brief (Filing

Nos. 74, 75) as allowed by 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a).

       The Defendant is charged in a two-count Indictment with: encouraging and inducing

illegal aliens to remain in the United States (Count I); and forfeiture (Count II). She seeks

an order suppressing statements made to law enforcement during the course of a search

of her residence.

       Following an evidentiary hearing, Judge Gossett issued oral findings of fact and

conclusions of law, referred to in his Report and Recommendation, in which he concluded

that the Defendant was not in custody and, because Miranda warnings were not required,

the motion to suppress should be denied. (Filing No. 72, at 30.) However, Judge Gossett

further concluded that, if this Court determines that the Defendant was in custody,

Investigator Eberle’s statements were reasonably likely to elicit an incriminating response

and, therefore, Miranda warnings would have been required and the motion would be

granted.
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                                 STANDARD OF REVIEW

       Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a), the Court shall make

a de novo determination of those portions of the report, findings, and recommendations

to which the Defendant has objected. The Court may accept, reject, or modify, in whole

or in part, the Magistrate Judge's findings or recommendations. The Court may also

receive further evidence or remand the matter to the Magistrate Judge with instructions.

                                 STATEMENT OF FACTS

       The Magistrate Judge provided a detailed account of the events surrounding the

events relevant to the alleged interrogation. The Court has considered the transcript of the

hearing conducted by the Magistrate Judge (Filing No. 72). Based on the Court’s de novo

review of the evidence and arguments, the Court adopts Judge Gossett’s factual findings

in their entirety.

                                FACTUAL BACKGROUND

       The following facts are taken from the transcript of the evidentiary hearing. Briefly,

approximately six officers went to a residence to perform a controlled delivery of a package

that had aroused their suspicion and that later was found to contain hydrocodone. The

Defendant answered the door and let the officer, dressed as a courier, in the house. After

the delivery, approximately six officers investigated the matter by identifying and talking

with eight individuals in the residence, one of whom was the Defendant. All of the

individuals except for the Defendant, who is a naturalized citizen, admitted to being illegally

in the United States. Record checks were done, and one individual who had an active

warrant was arrested. No other arrests were made that evening. Officers were at the



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home for approximately one and one-half hours and performed a search of the residence,

receiving consent from each individual regarding the area in which the individual resided.

Investigator Eberle said that he saw the Defendant crying in a bedroom; she was with

another female. He testified that he went into the bedroom and told the Defendant that

officers were there because of the hydrocodone in the package. The Defendant then

began talking about her husband and her suspicion that he was abusing hydrocodone.

She was worried that her husband would go to jail that day. Investigator Eberle responded

that it did not appear that he would be arrested and, rather, reports would be given to the

county attorney. He also told her that assistance could be provided with respect to any

drug abuse on the part of her husband.

       Investigator Eberle testified that then, just before leaving, the Defendant went into

the bedroom where her husband was. As officers were leaving, Eberle told the Defendant

that officers “were aware that there were individuals in her residence that were in the

country illegally and also staying at her residence illegally and she needed to assist them

with getting the proper documents to be in the country legally.” (Filing No. 72, at 13.) The

Defendant responded “I know,” and stated that the others worked with her husband and

her job was to cook for them. She added that she would do whatever was needed to assist

them. (Id.) Investigator Eberle did not give the Defendant Miranda warnings. (Id., at 14.)

Investigator Eberle stated that he conversed with the Defendant entirely in English and she

was not confused by the use of English. Investigator Eberle testified that the Defendant

was not free to leave the residence.

       The Defendant testified that she did not feel free to leave. She also stated that she

did not ask to leave and had no reason to leave. She said that she was nervous and

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scared, “but I wasn’t afraid that something was going to be done to me.” (Id., at 21.) The

Defendant testified that she is from Mexico and became a naturalized citizen in 1998 after

passing an English test.

                                         ANALYSIS

       The Defendant objects to specific portions of Judge Gossett’s Report and

Recommendation. The central issue raised is the Defendant’s contention that she was in

custody, and therefore Miranda warnings were required.

       The Eighth Circuit has identified the following factors that are included in those

considered under the totality of the circumstances in determining whether an individual was

in custody:

       (1) whether the suspect was informed that [s]he was free to leave and that
       answering was voluntary; (2) whether the suspect possessed freedom of
       movement; (3) whether the suspect initiated contact or voluntarily
       acquiesced; (4) whether strong arm tactics or strategies were employed; (5)
       whether the atmosphere was police dominated; or, (6) whether the suspect
       was placed under arrest at the end of questioning. United States v. Griffin,
       922 F.2d 1343, 1349 (8th Cir.1990).

United States v. Flores-Sandoval, 474 F.3d 1142, 1146-47 (8th Cir. 2007) (citing United

States v. Griffin, 922 F.2d 1343, 1349 (8 th Cir. 1990)).

       Addressing the first factor as it relates to the instant case, the Defendant was not

free to leave. At issue is not a question posed by Investigator Eberle but rather a

statement made by the Defendant, and therefore the second prong of the first factor does

not apply to this situation. Addressing the second factor, the Defendant was not free to

move during part of the time the officers were present, when all individuals were told to wait

in the living area. However, at some point the Defendant had the freedom to move into a



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bedroom with another female and then into a bedroom with her husband. Regarding the

third factor, the Defendant did not initiate contact with Investigator Eberle. She did not

acquiesce to interrogation, but rather engaged in a conversation with him.1 Viewing the

fourth factors, strong arm tactics or strategies were not used. The sixth factor does not

apply, as the Defendant was not arrested on the evening in question.

       The fifth factor, addressing whether the atmosphere was police dominated, requires

additional discussion. Although approximately six officers took part in the controlled

delivery, search and questioning of the individuals, only Investigator Eberle spoke with the

Defendant. He approached her first in a bedroom with another female and then in a

bedroom with her husband. The record is silent regarding whether the female and the

husband stayed in the rooms with the Defendant once she spoke with Investigator Eberle.

In determining the issue of custody in another case, the presence of nine agents in a small

home was not dispositive of the existence of police domination. Among other factors, the

Eighth Circuit considered that although nine agents executed a search warrant only two

agents interviewed the defendant. United States v. Axsom, 289 F.3d 496, 502 (8th Cir.

2002). The court also stated that “[w]hen a suspect is interrogated in the comfort and

familiarity of his home, a court is less likely to find the circumstances custodial.” Id.

       The Defendant also argues that officers’ presence for one and one-half hours is

determinative in deciding the issue of custody. While generally relevant to the issue of

police domination, courts’ concern with “length” refers to the length of the alleged

interrogation. See, e.g., Griffin, 922 F.2d at 1348-49.


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      This Court agrees with Judge Gossett that Officer Eberle’s statement to the
Defendant was reasonably likely to elicit incriminating information.

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      Viewing the relevant factors as they apply to the instant case in the totality of the

circumstances, the Court concludes that the Defendant was not in custody. The Court is

heavily influenced by the fact that the Defendant was only approached by one officer, and

was likely in the presence of another person, when the conversation at issue occurred.

Another persuasive factor is the Defendant’s testimony that despite her nervousness she

was not afraid that something would be “done” to her.

                                        CONCLUSION

      For the reasons discussed, the Court agrees that the Defendant was not in custody

at the time and place in question and therefore Miranda warnings were not required.

      IT IS ORDERED:

      1.     The Magistrate Judge’s Report and Recommendation (Filing No. 69) is

             adopted in its entirety;

      2.     The Statement of Objections to the Report and Recommendation (Filing No.

             74) is denied; and

      3.     The Defendant’s Motion to Suppress (Filing No. 58) is denied.

      DATED this 16th day of June, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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